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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                CASE NO: 2:14-cr-135-FtM-38CM

LESLIE CHIN


                                       ORDER

      Before the Court is Defendant’s Motion for Pre-Trial Suppression Hearing

(Doc. 54, “Motion”), filed on April 1, 2015.        Defendant requests a pre-trial

suppression hearing concerning Defendant’s April 17, 2012 arrest in Charlotte

County, Florida. Doc. 54 at 1. Defendant seeks to suppress evidence gathered by

law enforcement from two cell phones received from Defendant. Id. For the reasons

set forth below, this Motion is denied without prejudice.

      Defendant’s Motion fails to provide the Court with any legal support as to why

the Motion should be granted. Pursuant to Local Rule 3.01(a) and the Criminal

Scheduling Order (Doc. 30), the movant must include a memorandum of legal

authority in support of the request. Local Rule 3.01(a); Doc. 30 at 6. Defendant has

not complied with this requirement. Additionally, Defendant’s counsel is required

to certify he has conferred with opposing counsel in an attempt to resolve the issues

raised in the motion prior to filing the motion. Doc. 30 at 6. Defendant’s Motion

does not include the certification. Finally, the formatting of Defendant’s Motion fails

to comply with Local Rule 1.05. Local Rule 1.05(a) states that all pleadings “shall
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be typewritten, double-spaced, in at least twelve-point type front.”          Local Rule

1.05(a).

      ACCORDINGLY, it is hereby

      ORDERED:

      1.     Defendant’s Motion for Pre-Trial Suppression Hearing is DENIED

without prejudice.

      2.     Defendant is granted leave to refile her Motion for Pre-Trial

Suppression Hearing on or before Monday, April 13, 2015 in accordance with this

Order, the Local Rules and the Criminal Scheduling Order (Doc. 30.)

             a. Defendant shall file a supporting memorandum with her refiled

                   Motion.

             b. Defendant’s counsel must confer with opposing counsel prior to

                   refiling this Motion and include a certification in the Motion.

             c. Defendant’s Motion and supporting memorandum must comply with

                   the formatting requirements.

      3.     Defendant’s Motion also shall include an estimate of the time required

for the hearing.

      DONE and ORDERED in Fort Myers, Florida on this 7th day of April, 2015.




Copies:
Counsel of Record



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